
720 S.E.2d 668 (2012)
SPEEDWAY MOTORSPORTS INTERNATIONAL LTD.
v.
BRONWEN ENERGY TRADING, LTD., Bronwen Energy Trading UK, Ltd., Dr. Patrick Denyefa Ndiomu, BNP Paribas (Suisse) SA, BNP Paribas S.A., Swift Aviation Group, Inc., Swift Air, LLC, Swift Aviation Group, LLC, and Swift Transportation Co., Inc.
No. 113P11.
Supreme Court of North Carolina.
January 26, 2012.
William K. Davis, for BNP Paribas, S.A.
Michael G. Adams, Charlotte, for Speedway Motorsports International Ltd.
Nash E. Long, III, Charlotte, for BNP Paribas (Suisse) SA.

ORDER
Upon consideration of the petition filed on the 22nd of March 2011 by Defendant (BNP Paribas S.A.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*669 "Denied by order of the Court in conference, this the 26th of January 2012."
